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            EXHIBIT 7
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How YouTube Makes Money - How YouTube Works                                                                    4/29/24, 6:09 PM




                                      Our commitments                      Product features   User settings   Rules and policies




      OUR COMMITMENTS




      How does YouTube make money?

      YouTube's main source of revenue is advertising. Additionally, we earn money from our monthly
      subscription businesses such as YouTube Premium. We’ve also developed tools to help eligible
      Creators earn money in a variety of other ways such as Super Chat, channel memberships, and
      merchandise. In most cases, Creators and YouTube share revenue generated from these channels.




https://www.youtube.com/howyoutubeworks/our-commitments/sharing-revenue/                                            Page 1 of 3
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      Revenue sharing              Revenue alternatives              Responsible advertising


      How does YouTube share advertising and subscription revenue with
      Creators?


      YouTube's main source of revenue is advertising, which enables businesses to find relevant
      audiences and grow their businesses and brands.



      Creators who are part of the YouTube Partner Program (YPP) are eligible to share in advertising
      revenue.



      We also earn money from our monthly subscription businesses such as YouTube Premium. With
      YouTube Premium, members can enjoy any video on YouTube without ads while still supporting
      Creators. Currently, revenue from YouTube Premium membership fees is distributed to Creators
      based on how much of their content members watch.




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